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                                                                IN THE UNITED STATES DISTRICT COURT
                                           6
                                           7                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                           8
                                                                                               No. C 06-02799 CW
                                           9   JEROME L. GRIMES,
                                                                                               ORDER GRANTING
                                          10             Plaintiff,                            REQUEST TO PROCEED
                                                                                               IN FORMA PAUPERIS,
For the Northern District of California




                                          11       v.                                          REVIEWING AND
    United States District Court




                                                                                               DISMISSING AMENDED
                                          12   RN ROBINSON, et al.,                            COMPLAINT
                                          13             Defendants.
                                                                                       /
                                          14
                                          15        Plaintiff Jerome L. Grimes, a state prisoner incarcerated at
                                          16   San Francisco County Jail at the time of the events at issue,1
                                          17   filed this pro se civil rights complaint alleging that two public
                                          18   defenders who had represented him had obstructed justice, that
                                          19   Deputies Sanchez, Fields and Santiago violated his Eighth Amendment
                                          20   right to be free from excessive force, that another Deputy violated
                                          21   unspecified constitutional rights by placing him in administrative
                                          22   segregation, and that two inmates also violated unspecified
                                          23   constitutional rights.    On February 1, 2007, the Court issued an
                                          24   Order Denying Without Prejudice Leave to Proceed In Forma Pauperis
                                          25   [and] Dismissing Complaint With Leave to Amend (February, 2007
                                          26   Order) (Docket # 14).
                                          27
                                                    1
                                                     On May 23, 2007, Plaintiff notified the Court that he was
                                          28   living at 263 Vernon Street, San Francisco, California.
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                                           1        In the February 1, 2007 Order, the Court dismissed without
                                           2   leave to amend the claims against the two public defenders and the
                                           3   two inmates on the ground that they are not state actors and, thus,
                                           4   cannot be sued for a civil rights violation under 42 U.S.C. § 1983.
                                           5   The Court dismissed with leave to amend Plaintiff’s claim regarding
                                           6   being placed in administrative segregation because he did not
                                           7   allege who put him in administrative segregation nor did he allege
                                           8   how this violated his constitutional rights.        The Court dismissed
                                           9   with leave to amend the claims against Defendants Robinson, Young
                                          10   and Ficher on the ground that he had not stated any facts that
For the Northern District of California




                                          11   would support claims of constitutional violations against them.
    United States District Court




                                          12   The Court found that the excessive force claims against Defendants
                                          13   Sanchez, Fields and Santiago were cognizable but that they could
                                          14   not go forward because Plaintiff had not alleged facts which, if
                                          15   proven, would establish that these Defendants applied force
                                          16   “maliciously and sadistically to cause harm,” rather than in a
                                          17   good-faith effort to maintain or restore discipline.
                                          18        On April 9, 2007, Plaintiff filed a First Amended Complaint
                                          19   (FAC) (Docket # 17) alleging the following.       On March 2, 2006,
                                          20   Defendant RN Robinson did not immediately X-ray Plaintiff’s right
                                          21   injured elbow and “signaled inmate attack weapon, inmate Lamont
                                          22   Rider to punch Plaintiff’s jaw after [Robinson] bootlegged anti-
                                          23   coagulated antibiotics pre-surgery terror piece-mell [sic] terror
                                          24   and at least once sneaked into cell at night while Plaintiff slept
                                          25   and taser gun immobilized and put acid in mouth to help pre-
                                          26   fracture lower mandibular jaw bone. [sic]”       On various days in
                                          27   February, 2006, newly-named Defendant RN Litvinova refused
                                          28                                        2
                                                 Case 4:06-cv-02799-CW Document 20 Filed 02/14/08 Page 3 of 6



                                           1   Plaintiff’s pleas for X-rays and emergency medical treatment for a
                                           2   fractured right elbow which was injured on February 15, 2006 and on
                                           3   two nights, “sneaked into Plaintiff’s cell and put acid in the
                                           4   mouth, lower jaw area . . . to help pre-fracture lower mandibular
                                           5   jaw bond, while, simultaneously, X26C taser gun back bar plumbing
                                           6   area aim X26C blocking covert area . . . dog training device/taser
                                           7   chip terror to keep Plaintiff semi-sleep immobilized with multiple
                                           8   prior days of medical prescription drug poisoning/
                                           9   tampering/bootlegging with anti-coagulate chemical warfare to cause
                                          10   unstoppable bleeding during premeditated future resulting broken
For the Northern District of California




                                          11   jaw surgery death disguised as daily antibiotic distribution for
    United States District Court




                                          12   Plaintiff’s tooth infection. . . .”
                                          13        The FAC also alleges that, on or about February 10, 2006,
                                          14   Defendant Deputy Sanchez moved Plaintiff from a “secure and stable”
                                          15   cell to an “unsafe and unstable” cell which resulted in injury to
                                          16   Plaintiff through the use of an inmate attack weapon.            Defendant
                                          17   Deputy Young also placed Plaintiff in an unsafe living condition in
                                          18   disciplinary administrative segregation in a cell with another
                                          19   inmate attack weapon.    Defendant Deputy Fields told Plaintiff to
                                          20   put on handcuffs while another inmate attack weapon was
                                          21   unrestrained.   Deputy Fields taser-gunned Plaintiff so that the
                                          22   inmate attack weapon could attempt to hurt Plaintiff’s eye with a
                                          23   sharp homemade paperclip ring so that Plaintiff’s cornea could be
                                          24   smuggled to a covert hospital emergency room.        Defendant Deputy
                                          25   Santiago engaged in the same conduct as Defendant Fields.
                                          26   Defendant Deputy Ficher was acting suspiciously and made an unsafe
                                          27   condition of confinement.     Defendant Deputy Kencade sneaked into
                                          28                                        3
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                                           1   Plaintiff’s cell at night, while Plaintiff slept, and dropped acid
                                           2   drops into Plaintiff’s mouth to help pre-fracture Plaintiff’s lower
                                           3   jawbone while simultaneously taser gunning Plaintiff.            Defendants
                                           4   Deputies Clayborn, Smith and Tek also put acid drops in Plaintiff’s
                                           5   mouth.   Defendant Deputy Dupre threatened Plaintiff with physical
                                           6   abuse because he said Plaintiff was talking too much.            This attempt
                                           7   to stop Plaintiff from talking was aided by Deputies Flores,
                                           8   Calacug-Martin and Johnson.
                                           9        Defendant Deputy Josif, while escorting Defendant RN Williams,
                                          10   signaled an inmate attack weapon to punch Plaintiff’s jaw.
For the Northern District of California




                                          11   Defendant Josif also sneaked into Plaintiff’s cell at night, while
    United States District Court




                                          12   Plaintiff slept, and dropped acid drops into Plaintiff’s mouth to
                                          13   help pre-fracture his jaw bone and simultaneously taser-gunned
                                          14   Plaintiff.
                                          15                                   DISCUSSION
                                          16        Because, in his original complaint, Plaintiff’s allegations,
                                          17   if taken as true, demonstrated that he was in imminent danger of
                                          18   serious physical injury, the case was excepted from the 28 U.S.C.
                                          19   § 1915(g) “three-strikes” provision, which the Court previously
                                          20   found applies to Plaintiff.     See C 00-1100 CW, Order Dismissing
                                          21   Complaint, filed May 19, 2000.
                                          22        In the February 1, 2007 Order, the Court allowed Plaintiff to
                                          23   amend his claims against Defendants Sanchez, Fields, Santiago,
                                          24   Robinson, Young and Ficher.     The Court also allowed Plaintiff to
                                          25   amend his allegation about being placed into administrative
                                          26   segregation to state who put him in administrative segregation and
                                          27   how that individual or individuals violated Plaintiff’s
                                          28                                        4
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                                           1   constitutional rights.    In his FAC, Plaintiff names many new
                                           2   Defendants.   Because, with the exception of individuals who were
                                           3   involved in Plaintiff’s administrative segregation claim, the Court
                                           4   did not allow Plaintiff to add new Defendants, all claims against
                                           5   all newly named Defendants are dismissed.
                                           6        In regard to the excessive force claim against Defendants
                                           7   Sanchez, Fields and Santiago, the Court finds that the TAC, even
                                           8   construed liberally, does not contain allegations that are
                                           9   sufficient to state such claims.      The Court similarly finds that
                                          10   the FAC fails to contain allegations sufficient to state claims
For the Northern District of California




                                          11   against Robinson and Ficher.     In regard to his administrative
    United States District Court




                                          12   segregation claim, Plaintiff alleges that Defendant Young violated
                                          13   Plaintiff’s constitutional rights by placing him in administrative
                                          14   segregation because he was put in a cell with an “inmate attack
                                          15   weapon.”   This allegation is insufficient to state a claim against
                                          16   Defendant Young.
                                          17        Therefore, Plaintiff’s request to proceed in forma pauperis is
                                          18   granted and his complaint is DISMISSED.       The Clerk shall enter
                                          19   judgment and close the file.
                                          20
                                          21        IT IS SO ORDERED.
                                          22
                                          23   Dated: 2/14/08
                                                                                         CLAUDIA WILKEN
                                          24                                             United States District Judge
                                          25
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                                           1                                 UNITED STATES DISTRICT COURT
                                                                                       FOR THE
                                           2                                NORTHERN DISTRICT OF CALIFORNIA
                                           3
                                               JEROME L. GRIMES,
                                           4                                                            Case Number: CV06-02799 CW
                                                              Plaintiff,
                                           5                                                            CERTIFICATE OF SERVICE
                                                 v.
                                           6
                                               R.N. ROBINSON et al,
                                           7
                                                              Defendant.
                                           8                                                /

                                           9
                                               I, the undersigned, hereby certify that I am an employee in the Office of the Clerk, U.S. District Court,
                                          10   Northern District of California.
For the Northern District of California




                                          11   That on February 14, 2008, I SERVED a true and correct copy(ies) of the attached, by placing said
                                               copy(ies) in a postage paid envelope addressed to the person(s) hereinafter listed, by depositing said
    United States District Court




                                          12   envelope in the U.S. Mail, or by placing said copy(ies) into an inter-office delivery receptacle located
                                               in the Clerk's office.
                                          13
                                          14
                                          15   Jerome L. Grimes
                                               263 Vernon St
                                          16   San Francisco, CA 94132

                                          17   Dated: February 14, 2008
                                                                                                Richard W. Wieking, Clerk
                                          18                                                    By: Sheilah Cahill, Deputy Clerk

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